                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

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 IN RE THE APPLICATION OF SEAWOLF                          :
 TANKERS INC. AND HEIDMAR INC.,                            :
                                                           :   Civil Case No.: 20-Misc._____
 REQUEST FOR DISCOVERY PURSUANT                            :
                                                           :
 TO 28 U.S.C. § 1782
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             DECLARATION OF JAMES H. POWER IN SUPPORT OF
     EX PARTE APPLICATION FOR DISCOVERY PURSUANT TO 28 U.S.C. § 1782


        I, James H. Power, declare as follows:

        1.       I am a member of the law firm of Holland & Knight LLP, counsel for Seawolf

Tankers Inc. (“Seawolf”) and Heidmar Inc. (“Heidmar”) (Seawolf and Heidmar collectively,

“Applicants”), and am duly admitted to practice before the United States District Court for the

Southern District of New York.

        2.       I respectfully submit this declaration in support of Applicant’s application for

discovery pursuant to 28 U.S.C. § 1782.

        3.       The statements made in this declaration are based upon my personal knowledge,

including information provided to me by Applicants and my instructing foreign counsel.

        4.       To the best of my knowledge, information, and belief, based on my assessment of

the facts surrounding this dispute and of the entities and individuals, the following entities and

individuals from which discovery is sought either reside or are found in the District having

residency, offices, registered addresses or managing agents in Connecticut:

             a. Deloitte & Touche LLP (address 695 East Main Street, Stamford, CT 06901)
               b. Ridgebury Tankers Ltd. (Registered in CT with the CT Secretary of State)

               c. Ridgebury Tankers LLC (represents to be located or present via agent in CT)

               d. Ridgebury Crude Tankers LLC (represents to be located or present via agent in CT)

               e. Ridgebury Management LLC (represents to be located or present via agent in CT)

               f. Robert Burke (CEO)(resident of Connecticut)

               g. Hew Crooks (CFO)(resident of Connecticut)

        5.        Upon information and belief, based on an open property records search both Robert

Burke (identified as CEO Ridgebury Tankers and other affiliated companies) and Hew Crooks

(identified as CFO of Ridgebury Tankers) have listed addresses in Connecticut and are believed

to be principally employed by one or more entities having an office address at 33 RIVERSIDE

AVENUE | 3RD FLOOR | WESTPORT, CONNECTICUT 06880, the office of Ridgebury

Tankers.

        6.        With respect to the foregoing, time is of the essence in obtaining an order

authorizing discovery pursuant to this 1782 Application as information in the possession of the

entities and persons set forth above that will need be to be considered and used in the pending

UAE proceeding to preserve the security posted for the claims against Ridgebury Kilo LLC and is

further intended to be used to seek pre-judgment relief in the form of an injunction against

dissipation of any sale process from the upcoming sale of the vessel PURPOSE and potential

receiver in the Republic of the Marshall Islands before such sale occurs or sale proceeds are

dissipated beyond the jurisdiction of the High Court of the RMI. The information in the form of

documents sought as well as the testimony of witnesses should be readily available for production

and disclosure within 7-14 days after service of any subpoena.




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                                           Background

        7.     The underlying claim arises from an ill-fated voyage of the vessel RIDGEBURY

PROGRESS (IMO No. 9180152) (hereinafter “PROGRESS”) which suffered repeated

breakdowns and serious delays.

        8.     The PROGRESS was at all relevant times owned by the shell company Ridgebury

Kilo a Special Purpose Vehicle (“SPV”) incorporated in the Republic of the Marshall Islands

(“RMI”) with a registered address at Trust Company Complex, Ajeltake Island, Ajeltake Road,

Majuro, Marshall Islands MH 96960. Ridgebury Kilo is just one entity in a group of companies

self-described collectively as the Ridgebury Group or Ridgebury Tankers. The Ridgebury Group

consists of approximately 24 entities mostly formed and existing under the laws of the RMI with

one or two group entities believed to formed under Delaware law. At the time of this Declaration

the Ridgebury Group is believed to consist of the entities reflected in Power Exhibit 8 – Ridgebury

Crude Tankers LLC Investor Presentation and further includes four vessel owning entities set forth

herein below as well as RV4 Fleet Finance LLC and Ridgebury V4 Investments LLC. Further,

based on filings in the RMI additional entities appear to affiliated with the Ridgebury Group

including, RVL II PRINCIPALS HOLDINGS LLC, RIDGEBURY VL II LLC, RIDGEBURY VL

II PRINCIPALS LLC, RIDGEBURY MANAGEMENT PRINCIPALS LLC, BURKE TANKERS

LTD and RIDGEBURY TANKERS CORP.

        9.     After the voyage and after receiving numerous complaints in respect to the 11

engine stoppages and off-hire periods resulting therefrom, the PROGRESS, Ridgebury Kilo’s sole

asset was sold on or about July 2, 2020 for approximately $24 million and the proceeds believed

to have been promptly dissipated to related interests including equity holders and/or other entities

within the Ridgebury Group of companies thereby rendering Ridgebury Kilo insolvent. Upon


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information and belief, proceeds from the sale were deposited into an account in the name of RV4

Fleet Finance LLC which serves as the joint operating account for three sister vessels.

        10.    On information and belief, the proceeds from the sale of the PROGRESS were

likely to have been held, possessed or maintained by RV4 Fleet Finance LLC and/or Ridgebury

V4 Investments LLC, RT Holdings LLC and/or DB Bank ASA for a period of time before such

funds were further transferred to other affiliated entities, members, shareholders or investors.

        11.    This same process occurred with the sale proceeds of the vessels PRIDE and

PIONEER which were completed in Q1 and Q2 2020. If the fourth and final vessel, the PURPOSE

is sold (and sale proceeds not preserved or put under supervision of the RMI Court), under the

current structure of the Ridgebury Group each of the shell companies that owed each vessel will

be rendered asset-less as well as the immediate holding company RV4 Fleet Finance LLC thereby

frustrating the expected judgment by Seawolf against Ridgebury Kilo LLC for breach of the

charter.

        12.    By Pool Agreement dated July 31, 2015 between Ridgebury Kilo, Heidmar and

Seawolf (hereinafter “Pool Agreement”), Ridgebury Kilo, as Participant, entered the Vessel in the

Seawolf Tankers Pool, as Pool Company, that was commercially managed by Heidmar, as Agent.

Attached hereto as Power Exhibit 1 is a true and correct copy of the Pool Agreement, dated July

31, 2015 and Amendments Nos. 1-3 thereof.

        13.    Because of this arrangement, Clause IV (B) (3) of the Pool Agreement obligated

Ridgebury Kilo to time charter the PROGRESS to Seawolf for an initial period of 6 months after

which the Charter Party became evergreen.




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        14.        By Clause IV (B) (1) of the Pool Agreement Ridgebury Kilo agreed to indemnify

and hold Heidmar harmless from all consequences or liabilities in complying with orders given to

it.

        15.        By a time charter party dated July 31, 2015 between Ridgebury Kilo and Seawolf

(hereinafter “Charter Party”), Seawolf time chartered the PROGRESS from Ridgebury Kilo.

Attached hereto as Power Exhibit 2 are true and correct copy of the Charter Party, dated July 31,

2015 and Addendum No. 1 and Amendments Nos. 1-3 thereof.

        16.        Clause 1 of the Charter Party – Description and Condition of the Vessel – obligated

Ridgebury Kilo to provide to Seawolf a vessel, on delivery and throughout the duration of the

Charter Party, that was fit in every way for service under the Charter Party including but not limited

to:

               x   in every way fit to carry crude petroleum and/or its products;
               x   tight, staunch, strong, in good order and condition, and in every way fit for
                   the service, with her machinery, boilers, hull and other equipment
                   (including but not limited to hull stress calculator and radar) in a good and
                   efficient state;
               x   with tanks, valves and pipelines oil-tight;
               x   in every way fitted for burning at sea – fuel oil with a maximum viscosity
                   of 380 Centistokes at 50 degrees Centigrade/any commercial grade of
                   fueloil (“ACGFO”) for main propulsion and for auxiliaries in port - marine
                   diesel oil/ACGFO for auxiliaries.

        17.        Clause 2 of the Charter Party – Shipboard Personnel and their Duties – obligated

Ridgebury Kilo to, amongst other things, prosecute all voyages with utmost despatch.

        18.        Clause 3 of the Charter Party – Duty to Maintain – provides as follows: “Owners

shall, whenever the passage of time, wear and tear or any event (whether or not coming within

Clause 27 hereof) requires steps to be taken to maintain or restore the conditions stipulated in

Clauses 1 and 2(a), exercise due diligence so to maintain or restore the vessel.”



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        19.        Clause 9 of the Charter Party – Payment of Hire – as amended by Amendment No.

2, directed Seawolf to remit hire payments to Ridgebury Kilo under the Charter Party to an account

in the name of RV4 Fleet Finance LLC (hereinafter “RV4 Fleet”) held at DnB Bank ASA situated

in New York, New York. (RV4 Fleet account details at DNB Bank ASA have been redacted to

prevent disclosure of sensitive financial information).

        20.        RV4 Fleet was, and still is, an SPV incorporated in the RMI with a place of business

at Trust Company Complex, Ajeltake Island, Ajeltake Road, Majuro, Marshall Islands MH 96960

and is the 100% owner of the shell company Ridgebury Kilo, the borrower under a Facility

Agreement dated on or about March 2, 2018, and the holder of a bank account at DnB Bank ASA

situated in New York, New York.

        21.        RV4 Fleet is also the 100% owner of three other shell SPV’s, which are, or were,

the registered owners of other vessels within the Ridgebury Group as follows:

               x   M/T RIDGEBURY PIONEER owned by Ridgebury Lima LLC (“Ridgebury

                   Lima”) from 10 November 2015 until sold 9 May 2018;

               x   M/T RIDGEBURY PRIDE owned by Ridgebury Juliet LLC (“Ridgebury Juliet”)

                   from 19 October 2015 until sold 29 March 2020;

               x   M/T RIDGEBURY PURPOSE owned by Ridgebury Mike LLC (“Ridgebury

                   Mike”) since 16 July 2015 with sale scheduled for September 2020.

        22.        Ridgebury V4 Investments LLC (hereinafter referred to as “Ridgebury

Investments”) was, and still is, an SPV incorporated in the RMI with a place of business at Trust

Company Complex, Ajeltake Island, Ajeltake Road, Majuro, Marshall Islands MH 96960 and is

the 100% owner of RV4 Fleet.




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        23.    Along with the PROGRESS, all such vessels (collectively referred to as the

“Ridgebury Investments Fleet”) were entered with the Seawolf Tankers Pool since acquisition in

2015 pursuant to pool agreements on identical terms to the PROGRESS Pool Agreement and time

chartered to Seawolf on identical terms to the PROGRESS Charter Party. Pursuant to the terms

of those Charter Parties the pool earnings for all four vessels in the Ridgebury Investment Fleet

were from on or about March 5, 2018 remitted to the bank account held by RV4 Fleet at DnB Bank

ASA within this District. There is no evidence that the SPV’s of the Ridgebury Investment Fleet

maintained individual bank accounts or had access to funds to pay debts or fund operations rather

all earnings from operation of the Ridgebury Investments Fleet were directed to accounts of other

entities within the Ridgebury Group potentially rendering Ridgebury Kilo perpetually insolvent

having no access to funds or even a bank account to pay claims such as the claim arising from the

breach of the Charter in this case.

        24.    Further, by the Facility Agreement dated on or about March 2, 2018, RV4 Fleet, as

Borrower, Ridgebury Investments, as Parent Guarantor, and Ridgebury Kilo (along with

Ridgebury Lima, Ridgebury Juliet and Ridgebury Mike), as Owner Guarantors, borrowed money

from Macquarie Factoring (UK) Limited, which registered first preferred mortgages against the

PROGRESS as well as the other three vessel beneficially owned by Ridgebury Investments

through RV4 Fleet which owned the individual SPV’s for the PURPOSE, PIONEER and PRIDE.

Attached hereto as Power Exhibit 3 is a true and correct copy of the First Preferred Marshall Islands

Mortgage for the RIDGEBURY PROGRESS, dated March 2, 2018 and the Facility Agreement

with Macquarie Factoring (UK) Limited.

        25.    Despite being Marshall Islands companies whose registered address is listed as

Trust Company Complex, Ajeltake Island, Ajeltake Road, Majuro, Marshall Islands MH 96960,


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RV4 Fleet Finance LLC, Ridgebury V4 Investments LLC, Ridgebury Kilo LLC, Ridgebury Mike

LLC, Ridgebury Juliet LLC, and Ridgebury Lima LLC, have all represented that they have only

one place of business, or chief executive office from which each manages the main part of its

business, located at 33 Riverside Ave., 3rd Floor, Westport, CT 06880. See Power Ex. 3 - Facility

Agreement, Section 18.31 attached to the RIDGEBURY PROGRESS First Preferred Marshall

Islands Mortgage, dated March 2, 2018). As such, based on such representations, despite being

Marshall Islands companies having failed to register to do business in Connecticut as required,

each of these entities have suggested that documents and information available from them would

be located at 33 Riverside Ave., 3rd Floor, Westport, CT 06880 to the extent each entity is present

there or has an agent or manager at the address acting on their behalf. Robert Burke is the CEO

of Ridgebury Kilo LLC (Power Ex. 1 at p. 16) and Ridgebury Mike LLC (Power Ex. 2 p. 41) and

is believed to have has similarly identified as President of Ridgebury Lima. He is an appropriate

witnesses to testify about information concerning the Ridgebury Tanker Group to be used in

support of anticipated filings in the RMI.

        26.    Towards the top of the complex corporate ownership structure is RT Holdings LLC,

which is a limited liability holding company formed in March 2013 under the laws of the RMI.

        27.    RT Holdings LLC was formed by management and Riverstone Holdings LLC to

hold 100% of the ownership in Ridgebury Tankers LLC (a Marshall Islands company) and

Ridgebury Crude Tankers LLC (a Marshall Islands company). RT Holdings LLC owns and

operates tanker vessels including participating in the ownership and operation of the Very Large

Crude carrier fleet consisting (or formerly consisting of the PROGRESS, PURPOSE, PIONEER

and PRIDE).




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        28.    On June 11 2015, Ridgebury Investments was formed to acquire four VLCC’s.

Payment for hire earned by the PROGRESS, PURPOSE, PIONEER and PRIDE was paid into the

bank account of Ridgebury Investments at DNB Bank ASA in New York beginning in 2015 and

into 2018 where such funds were comingled.

        29.    Ridgebury Holdings LLC, a wholly owned subsidiary of RT Holdings, LLC, owns

36% of Ridgebury Investments, and Ridgebury Holdings LLC directly or through other related

entities exercises significant control of Ridgebury Investments, including overall corporate,

commercial, operational and administrative management of Ridgebury Investments.

        30.    On December 31, 2015, Riverstone Global Energy and Power Fund V (Cayman),

L.P. owned 97.148% of RT Holdings, LLC with the remaining 2.852% owned by officers and

directors of RT Holdings LLC.

        31.    Riverstone Global Energy and Power Fund V (Cayman), L.P. is affiliated with

Riverstone Holdings LLC which maintains an office at 712 Fifth Avenue, 36th Floor, New York,

NY 10019, United States.

        32.    Riverstone Holdings LLC is believed to be the custodian of records of Riverstone

Global Energy and Power Fund V (Cayman), L.P. and will have possession, custody and control

over records relating to the relationship between the individual companies, in the Ridgebury Group

of companies, the solvency of the various entity, distributions of proceeds from sale of vessels

including the PROGRESS, PRIDE and PIONEER and soon to be sold PURPOSE. Documents

from Riverstone Holdings has or will be sought independently from this Application in this

District.

        33.    According to financial audits one of Riverstone Holdings LLC’s nominated

directors of RT Holdings LLC is paid $150,000 on an annual basis beginning in 2015.


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        34.    Based on the website of Ridgebury Tankers the Riverstone director believed to

serving on the Ridgebury Group Board of Directors as Chairman since 2015 is N. John Lancaster.

See http://ridgeburytankers.com/about/board-of-directors/ as of August, 2020. The website of

Ridgebury Tankers further confirms that “Ridgebury is owned together by company management

and Riverstone.” See http://ridgeburytankers.com/about/riverstone/.

        35.    Ridgebury Tankers is the trade name used to describe the entire group of companies

and the website represents to the public-at-large that Ridgebury Tankers is located in and operated

from Westport, Connecticut. However, it should be noted that according to the Secretary of State

for Connecticut the only Ridgebury entity that appears to have ever registered to do business in

Connecticut was Ridgebury Tankers Ltd., which is, or was, a company incorporated in the

Republic of the Marshall Islands. The lobby directory at 33 Riverside Avenue refers only to

Ridgebury Tankers (Floor 3) with no further elaboration suggesting disregard of corporate

formality and separateness. Attached hereto as Power Exhibit 9 is a photo taken at the Ridgebury

Group offices on or about Augusts 17, 2020.

        36.    Additional companies affiliated with the Ridgebury Group of companies have been

incorporated in the Republic of the Marshall Islands for the purpose of serving as SPV’s or mere

holding companies.

        37.    The Ridgebury Group was formed initially in 2013 through the initial investment

of Riverstone Holdings LLC of approximately $200 million which was, in part, used for the

acquisition of vessels which were then placed into SPV’s. The Ridgebury Group has been self-

described to consist of each and every affiliated company under the ownership of members of

management and Riverstone Global Energy and Power Fund V (Cayman) L.P. The Ridgebury

Group consists of approximately 24 companies of whom are almost exclusively incorporated in


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the Republic of the Marshall Islands. Ridgebury Management LLC, which is believed to managed

all of the Vessel assets on behalf of the individual RMI SPV’s appears to be a Delaware company.

Attached hereto as Power Exhibit 8 is a true and correct copy of Ridgebury Crude Tankers

LLC/Riverstone Investor Presentation, dated March 6, 2014.

        38.    Additional companies that are believed to hold interests in the companies associated

with direct and indirect ownership of the PROGRESS and PURPOSE and who have potentially

obtained distributions or other forms of payments from earnings and/or proceeds of the sale of the

vessels PROGRESS, PIONEER and PRIDE and potential proceeds from the upcoming sale of the

PURPOSE are RVL II PRINCIPALS HOLDINGS LLC, RIDGEBURY VL II LLC,

RIDGEBURY VL II PRINCIPALS LLC, RIDGEBURY MANAGEMENT PRINCIPALS LLC,

RIDGEBURY TANKERS LLC, BURKE TANKERS LTD, RIDGEBURY TANKERS CORP.

Both Robert Burke, CEO and Hew Crooks CFO, are believed to have information regarding the

role of these additional entities believed to hold interests in the companies associated with direct

and indirect ownership of the PROGRESS and PURPOSE and who have potentially obtained

distributions or other forms of payments from earnings and/or proceeds

        39.    During the course of the PROGRESS, PURPOSE, PRIDE AND PIONEER

operations where Seawolf or Heidmar was involved, Seawolf has remitted pool earnings to

Ridgebury Kilo and Ridgebury Mike into the bank account held by RV4 Fleet at DNB Bank ASA.

Attached hereto as Power Exhibit 4 is a true and correct copy of a bank statement recording such

payments made to the RV4 Fleet bank account (The RV4 Fleet account details at DNB Bank ASA

have been redacted to prevent disclosure of sensitive financial information).

        40.    The earnings of the Ridgebury Investments Fleet since at least March 2018 appear

to have been comingled and used to fund the operations of the vessels and pay debts relating to the


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various related party companies and upon information and belief those funds have been remitted

up the corporate chain to related parties and, at present, may have been dissipated outside of the

Ridgebury Group including to members and investors.

        41.    In fact, on at least one occasion subsequent to December 31, 2015, the board of

Ridgebury Investments approved a distribution of $15,000,000 which was paid to members and/or

investors. See Power Exhibit 7 - RT Ridgebury RT-Holdings Consolidated Financial Statements

for 2014 and 2015, p. 17. The RT Holdings LLC and subsidiary consolidated audit report was

prepared by Deloitte & Touche LLP, 696 East Main Street, Stamford, CT 06901.

                            The Voyage Giving Rise to the Claims

        42.    Pursuant to the terms of the Pool Agreement and the Charter Party, on or shortly

after July 31, 2015 the Vessel was delivered by Ridgebury Kilo into the Seawolf Tankers Pool and

into the time charter service with Seawolf.

        43.    By a voyage charter party dated November 20, 2019 entered into between Seawolf

and Laurel Shipping LLC (“Laurel”) the Vessel was sub-chartered to Laurel for the carriage of

fuel oil from the US Gulf and/or the Bahamas and/or the Caribbean to West Coast India or

Singapore / Japan range.

        44.    Under the aforesaid voyage charter party, on December 28, 2019 Laurel ordered

the Vessel to load cargo at St. Croix, U.S. Virgin Islands, and then Freeport, Bahamas. The same

day the Vessel tendered Notice of Readiness at St. Croix and loaded 1,487,840.66 bbls of fuel oil

from December 28-31, 2019.

        45.    On January 4, 2020 the Vessel arrived at Freeport, Bahamas and tendered Notice

of Readiness on arrival. She then loaded a further 1,066,273.75 bbls of fuel oil from January 6-16,

2020.


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        46.    On January 16, 2020 three bills of lading for the cargo loaded aboard the Vessel

were issued on behalf of the Master / Ridgebury Kilo, with Freepoint Commodities LLC named

as shippers and for delivery to the order of Freepoint Commodities Singapore Pte. Ltd (hereinafter

collectively referred to as “Freeport”) at Singapore and/or Malaysia. On January 20, 2020 Laurel

issued discharge orders to the Vessel's Master/Owners for cargo delivery at Malaysia / Singapore,

Tanjung Pelapas STS.

        47.    On January 20, 2020 Laurel issued discharge orders to the Vessel’s Master/Owners

for cargo delivery at Malaysia / Singapore, Tanjung Pelapas STS.

        48.    On January 24, 2020 the Vessel’s Master advised Laurel that all was going well

and weather permitting the Vessel’s ETA at Singapore, Tanjung Pelapas STS would be the

beginning of March. However, the Vessel did not reach Singapore until April 29th, some 50 – 60

days late and after suffering main engine problems that resulted in 11 different stoppages.

        49.    The Vessel finally arrived at Huizhou, China on June 18, 2020 where she completed

discharge on June 19, 2020.

        50.    The Vessel engine problems, stoppages and delays during the voyage were all due

to the Vessel’s poor state of maintenance and repair in breach of Ridgebury Kilo’s Charter Party

obligations as aforesaid.

        51.    Compounding the matter, following the repairs performed during the numerous

stoppages, the Vessel was unable to maintain her warranted Charter Party speed of 12.5 knots and

instead often proceeded at a speed of between 7 - 9 knots, which constitutes a further breach by

Ridgebury Kilo of its Charter Party obligations.

        52.    The technical managers and crewing agent of the PROGRESS was Bernhard

Schulte Shipmanagement (Singapore) Pte. Ltd., on information and belief, will have contracted


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directly with Ridgebury Kilo or another entity within the Ridgebury Group. Payments for services

would have been made to Bernhard Schulte Shipmanagement (Singapore) Pte. Ltd. for both

technical management and the provision of the crew. It is believed that comingled funds in the

account of RV4 Fleet will have been used to fund expenses and any losses of other SPV’s owned

by RV4 Fleet.

        53.     Due to the aforesaid stoppages, Seawolf and Heidmar have been presented with a

demand letter dated July 22, 2020 from counsel for Laurel and Freepoint (the shippers and

consignees of the cargo), asserting estimated losses and extra expenses quantified at approximately

$19,700,000.00 and alleging breaches by the vessel interests (including Seawolf and Heidmar as

contended in the letter) of the voyage charter party and/or the bills of lading (the “Laurel &

Freepoint Claims”) and Seawolf and Heidmar have subsequently placed Ridgebury Kilo on notice

of the Laurel and Freepoint Claims. Attached hereto as Power Exhibit 5 is a true and correct copy

of the demand letter, dated July 22, 2020 from counsel for Laurel and Freepoint.

        54.     Under English law, which is incorporated into the Ridgebury Kilo’s Charter Party,

Seawolf has an accrued cause of action against Ridgebury Kilo for breach of, inter alia, Clauses 1,

2 and 3 of the Charter Party and Seawolf claims damages for the losses suffered including any

amounts that Seawolf is required to pay in respect of the Laurel Claims.

        55.     Seawolf has commenced London arbitration against Ridgebury Kilo claiming, inter

alia, damages for the losses caused by Ridgebury Kilo’s breaches of the Charter Party and delay

in the performance of the voyage and in the delivery of the cargo.

        56.     Under English law, which governs Ridgebury Kilo’s Pool Agreement obligations,

Heidmar is entitled to be indemnified and held harmless by Ridgebury Kilo from all consequences




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and liabilities, including any amounts that Heidmar is held liable to pay in respect of the Laurel

Claims.

                           Other Contemplated Foreign Proceedings

        57.    The undersigned, James H. Power, Esq., is admitted to the bar of the Republic of

the Marshall Islands and is familiar with the various pre-judgement remedies available in the RMI

having obtained certain pre-judgment relief including an injunction against the sale or transfer of

title of a Marshall Island’s flagged vessel in an unrelated matter.

        58.    An action in the Republic of the Marshall Islands is currently being developed and

upon final authorization given by the clients I intend to be file in time to enjoin the dissipation of

sale proceeds from the sale of the PURPOSE beyond Ridgebury Mike, Ridgebury Group entities,

RV Fleet, Ridgebury Investments, RT Holdings or Ridgebury Tankers LLC.

        59.    Each and every entity in the Ridgebury Group of Companies including the

following entities are incorporated in the RMI and subject to general jurisdiction of the High Court

of the RMI: Ridgebury V4 Investments LLC, RV4 Fleet Finance LLC, Ridgebury Holdings LLC,

RT Holdings LLC, Ridgebury Management LLC, Ridgebury Kilo LLC, Ridbebury Mike LLC,

Ridgebury Juliet LLC and Ridgebury Lima LLC.

        60.    Moreover, the following entities are entered as joint entrants under the same

insurance policy:    Ridgebury Kilo LLC (Owner); RT Holdings, LLC (Holding company);

Ridgebury Holdings LLC (Marshall Islands) (Holding company); Ridgebury V4 Investments LLC

(Parent Owner); Ridgebury Management LLC (Manager); Bernhard Schulte Shipmanagement

(Singapore) Pte. Ltd. (Technical managers); Bernhard Schulte Shipmanagement (Singapore) Pte.

Ltd. (Crewing agent) and Ridgebury Tankers LLC is designated as the group principal. Attached




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hereto as Power Exhibit 6 is a true and correct copy of the Certificate of Entry for the

RIDGEBURY PROGRESS.

        61.    Under the law of RMI various forms of pre-judgment relief are available including,

but limited to injunctions and the appointment of a receiver. The High Court of the RMI has

previously issued pre-judgment injunctions against the sale and transfer of assets including the

RMI flagged superyacht LUNA where the Court found that the sale or transfer of title of the LUNA

might render the registered owner insolvent or frustrate the ability of a claimant to recover on a

later recognized foreign judgement. The undersigned was counsel of record in the RMI in Case

No. 2018-169 where the pre-judgment injunction was granted and remains in effect today. A true

and correct copy of the LUNA injunction issued August 19, 2018 by the High Court of the RMI is

attached hereto as Power Ex. 10.

        62.    Here, because all of the relevant entities that have or will possess funds of

Ridgebury Kilo, the Applicants’ counter party to the PROGRESS Charter Party and Pool

Agreement, the RMI is potentially the sole place in the world that would have jurisdiction to issue

orders covering each of the Ridgebury Group entities for the preservation of assets pending

resolution of the underlying contract claim against Ridgebury Kilo and the claims by Laurel

Shipping and/or Freepoint against the Applicants for which Ridgebury Kilo would be responsible

for paying.

        63.    Rule 65 of the Marshall Islands Rules of Civil Procedure (“MIRCP”) govern the

issuance of temporary restraining orders and preliminary injunctions. Injunctive relief may be

sought on a pre-judgment basis in order to avoid the transfer of assets pending litigation in the

RMI and elsewhere.




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         64.     The Marshall Islands Rules of Civil Procedure (“MIRCP”), Rule 66, governs

receiverships. Pursuant to Rule 66 of the MIRCP, a court has the discretion to appoint a receiver.

Among various other elements, under MIRCP 66 the High Court would strongly consider the

possibility of irreparable harm when determining the appointment of a receiver. A movant must

make a clear showing that (1) an emergency exists and (2) that a receiver is necessary to protect

the property interests of the movant. Although there is no precise formula for determining whether

a receiver should be appointed, a court may consider the following equitable factors:

1)       the probability of the plaintiff’s success in the action;


2)       the possibility of irreparable injury to the plaintiff's interests in the property;


3)       the inadequacy of the security to satisfy the debt;


4)       the probability that fraudulent conduct has occurred or will occur to frustrate the plaintiff's

claim;


5)       the financial position of the debtor;


6)       the imminent danger of the property being lost, concealed, injured, diminished in value, or

squandered;


7)       the inadequacy of available legal remedies;


8)       the lack of a less drastic equitable remedy; and


9)       the likelihood that appointing a receiver will do more harm than good.




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        65.     Under the requirements of MIRCP 66, emergency circumstances can justify the

appointment of a receiver over an entity where there is a risk of the transfer of assets and a receiver

may be appointed to avert further loss of assets.

        66.     If the facts of the case show or a colorable claim can be asserted that Ridgebury

Kilo is insolvent or has dissipated assets in advance of a potential judgment then a cause of action

exists under RMI law that could support an injunction and/or the appointment of a receiver.

Specifically, if it can be shown that one or more of the Ridgebury companies subject to jurisdiction

in the RMI have control over funds held for the benefit of Ridgebury Kilo or have received

transfers of funds of Ridgebury Kilo prior to or after the sale of the vessel PROGRESS in July

2020 then such entities could be enjoined from further transferring such funds.

        67.     The discovery sought is intended and specifically designed to obtain the necessary

information to establish patterns of funds transfers by and between the various Ridgebury entities

particularly where those funds originated from earnings by Ridgebury Kilo or from the sale of the

PROGRESS or from earning generated by the operations of the three sister where those entities

can be shown to be alter egos or grounds for piercing the corporate veil exist.

        68.     Moreover, obtaining targeted information from Deloitte & Toche and from

Ridgebury Tankers (and affiliates entities believed to be located within the District as set forth

above) regarding the financial stability or potentially insolvent status of certain affiliates, financial

structure of the Ridgebury Group and payment to members and investors and instructions for inter-

company transfers, audit statements, sales agreements and correspondence for the sales of the

PRIDE, PIONEER, PROGRESS and PURPOSE, and other financial records for related to its

investment in Ridgebury Group entities will be used to draft a well pled complaint seeking various

forms of pre-judgment relief available in the RMI including injunction against the sale of the


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PROGRESS and further distribution of funds from the earning or sale from the sister vessels

PURPOSE and PRIDE.

         69.    Granting the assistance requested by Seawolf Tankers LLC and Heidmar Inc.

would not offend constitute a circumvention of foreign proof-gathering rules of the RMI. There

is no RMI rule of evidence that would prevent discovery obtained under 28 U.S.C. § 1782 being

used in the contemplated RMI Proceeding.




         I declare under penalty of perjury that the foregoing is true and correct.


Dated:          New York, New York
                August 24, 2020


                                               Respectfully Submitted,


                                               By: __________________________
                                                      James H. Power




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